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                     IN THE UNITED STATES DISTRICT COURT
                      DISTRICT OF UTAH, CENTRAL DIVISION

PURPLE INNOVATION, LLC, A                    SECOND AMENDED COMPLAINT
Delaware limited liability company,

       Plaintiff,

v.

HONEST REVIEWS, LLC, a Florida
Corporation, RYAN MONAHAN, an
individual, GHOSTBED, INC., a
Delaware corporation, MARC
WERNER, an individual, ASHLEY
WERNER SPAHIC, an individual,
WERNER MEDIA PARTNERS, LLC,
d/b/a NATURE’S SLEEP, LLC, an
Illinois limited liability company, and
SOCIAL MEDIA SHARKS, LLC, a
Florida limited liability company,           Case No.: 2:17-cv-00138-DB

       Defendants.                           Honorable Dee Benson


      Plaintiff Purple Innovation, LLC, by and through its counsel MAGLEBY CATAXINOS

& GREENWOOD, alleges and complains against Defendants as follows:
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                                    INTRODUCTION

       1.     This case involves a commitment and agreement among the Defendants

to create false and misleading statements disseminated across the internet about

Purple Innovation, LLC (“Purple”), a Utah-based mattress company, without disclosing

to the public anything about the substantial relationship between Defendants Ryan

Monahan (“Monahan”) and GhostBed, Inc. (“GhostBed”). Monahan and his company,

Defendant Honest Reviews, LLC (“HMR”), together with the support and assistance of

GhostBed and Defendants Social Media Sharks, LLC (“Social Media Sharks”), Werner

Media Partners, LLC d/b/a Nature’s Sleep, LLC (“Nature’s Sleep”), Marc Werner, and

Ashley Werner, are propagating those and other false and misleading statements on a

newly-created mattress-industry related website, www.honestmattressreviews.com (the

“HMR Website”), which is owned and operated by HMR and Monahan (collectively, the

“Monahan Defendants”). The HMR Website purports to be “honest,” but is anything

but. Defendants are also spreading their false and misleading statements throughout

various related social media sites, including on at least Facebook, Twitter, and YouTube

(the “HMR Social Media”). Specifically, Defendants have conspired to advance a

groundless campaign against Purple, a company that has enjoyed recent and rapid

success in the “bed-in-a-box” (“BIB”) mattress market and is quickly catching up to – if it

has not already passed –GhostBed as an industry leader. Moreover, Monahan, though

his entity Social Media Sharks, has provided and continues to provide substantial digital

marketing and social media services to GhostBed, which upon information and belief is

participating, encouraging, or sponsoring the competitive smear campaign against


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Purple, and GhostBed’s personnel have spread the false information by reporting it to

consumers. In addition, GhostBed is substantially benefiting from the campaign against

Purple and from the extremely favorable coverage and reviews it is receiving on the

HMR Website and Social Media.

       2.     Defendants’ now-viral campaign against Purple includes numerous false

and misleading statements about Purple and its products and services, including

without limitation false allegations regarding the safety of Purple’s mattresses, the

purported lack of adequate safety testing for Purple’s products, and Purple’s alleged

deception of its customers in this regard. In fact, many of the statements go so far as to

imply that Purple’s mattresses are dangerous and can lead to serious diseases or even

death. These statements are false and unfounded, and Defendants provide no basis or

evidence to support any such statements in the HMR Website or elsewhere.

       3.     Even more troubling, HMR makes purported “disclaimers (the

“Disclaimers”) on the HMR Website, which are also false and misleading and omit to

disclose material facts about Monahan’s relationship to GhostBed and Marc Werner,

GhostBed’s CEO. Among other things, HMR and Monahan purport to be independent

and unaffiliated with any particular mattress company, such that the reviews on the

HMR Website are entirely without bias, but they fail to disclose that Monahan has very

close ties to GhostBed, one of Purple’s main competitors. Indeed, upon information and

belief, Monahan has, with GhostBed’s and Marc Werner’s knowledge and consent,

publicly represented himself as GhostBed’s Chief Brand Officer, and he has used the

email address ryan@ghostbed.com for to communicate with GhostBed’s customers.


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       4.     Since 2015, Monahan, through his entity Social Media Sharks, LLC, which

has purportedly acted as a subcontractor for Achieve Agency, formerly known as Big

Couch Agency, has provided extensive marketing and social media services to

GhostBed, for which GhostBed has paid substantial amounts. Monahan continues to

provide these services to GhostBed.

       5.     The HMR Website has also given consistently positive reviews and to the

GhostBed mattress and positive coverage of GhostBed. Upon information and belief,

the Monahan Defendants have acted as agents of GhostBed for purposes of the

conduct alleged herein. This association is referenced nowhere on the HMR Website or

Social Media, and in fact Monahan and GhostBed have attempted to conceal

Monahan’s association with GhostBed by scrubbing information showing the

relationship from the internet.

       6.     In addition, the Disclaimers represent in misleading fashion that HMR and

Monahan are completely unbiased and not compensated directly by mattress

manufacturers, stating that the “website receives zero affiliate commissions.” However,

this carefully-worded language reveals nothing about Monahan’s close association with

GhostBed and leaves open the possibility that the Monahan Defendants receive direct

or indirect payments or other valuable consideration, including without limitation

advertising income from favorably-reviewed companies, which payments are not

characterized as “commissions” but nevertheless directly or indirectly benefit HMR,

Monahan, or a related entity.




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       7.     This evidence establishes a reasonable belief that HMR, Monahan, and/or

other entities owned or controlled by Monahan, including Social Media Sharks, are

directly or indirectly – and surreptitiously – working with GhostBed to make false and

misleading statements of fact that are specifically designed to promote GhostBed’s

products and to harm Purple and other manufacturers and that, in return, GhostBed is

directly or indirectly compensating the Monahan Defendants or other related entities,

and in this way the Monahan Defendants are acting as GhostBed’s agents with respect

to the HMR Website and other statements regarding Purple.

                                          PARTIES

       8.     Plaintiff Purple Innovation, LLC (i.e., “Plaintiff” or “Purple”), is a Delaware

limited liability company with its principal place of business in Utah County, Utah. The

principals of Purple are residents of Utah County, Utah.

       9.     Defendant Honest Reviews, LLC, dba as or through

www.honestmattressreviews.com (i.e., “HMR”) is a Florida limited liability company with

its principal place of business in Plantation, Florida.

       10.    Defendant Ryan Monahan (i.e., “Monahan”) is an individual who, upon

information and belief resides and conducts business in Plantation, Florida. Upon

information and belief, Monahan is the owner, Editor in Chief, and primary architect of

HMR.

       11.    Defendant GhostBed, Inc. (i.e., “GhostBed”), is a Delaware corporation,

with its principal place of business in Plantation, Florida.




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         12.   Defendant Werner Media Partners, LLC, d/b/a Nature’s Sleep, LLC (i.e.,

“Nature’s Sleep”), is an Illinois limited liability company with its principal place of

business in Plantation, Florida. GhostBed is a wholly-owned subsidiary of Nature’s

Sleep.

         13.   Defendant Marc Werner is the CEO of GhostBed and Nature’s Sleep. He

resides in Florida.

         14.   Defendant Ashley Werner Spahic is an officer and employee of GhostBed

and/or Nature’s Sleep and resides in Florida.

         15.   Defendant Social Media Sharks, LLC is Florida limited liability company

with its principal place of business in Boca Raton, Florida.

                               JURISDICTION AND VENUE

         16.   This is a civil action for false advertising and false association under

Section 43(a) of the Lanham Act and Utah common law. Jurisdiction in this Court is

founded upon 28 U.S.C. §§ 1331 and 1338.

         17.   This Court has personal jurisdiction over Defendants because they have

conducted continuous and systematic business in the state of Utah, have numerous

contacts with the state of Utah, and have committed and continue to commit acts of

false advertising and related tortious acts in this district, as alleged herein.

         18.   Venue is proper in this district pursuant to 28 U.S.C. §§ 1400(b) and

1391(b) and (c).




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                               FACTUAL ALLEGATIONS

                                          Purple

       19.    Purple is an innovative and successful Utah company focused upon

bringing technologically advanced comfort products to the market to resolve and

alleviate pain experienced by consumers while lying in bed, sitting, or standing.

       20.    Since launching its first mattress product, the Purple® Bed, Purple has

enjoyed tremendous success, growing from less than 50 employees in January 2016 to

over 600 employees in February 2017.

       21.    Purple has also expanded its business beyond the Purple® Bed, and now

provides a variety of innovative, quality products related to the mattress and sleep

market, including the Purple® Pillow.

       22.    The seeds of Purple’s business were planted in 1989, when brothers Tony

and Terry Pearce, both engineers, decided to apply their engineering skills to develop

innovative products that would improve the quality of life for their customers.

       23.    By 1993, the Pearces discovered that there was a pressing need for better

wheelchair cushioning. Pressure sores were a common and extremely painful reality in

the lives of wheelchair users. Taking on that challenge, the Pearces created Floam™,

the world’s lightest-weight cushioning fluid. Soon, the Pearces obtained five patents

associated with Floam™, which was being used in not only wheelchair cushions, but

also by major licensees in products such as critical-care medical beds (Hill-Rom),

footwear (Nike), ankle/knee braces (Johnson & Johnson), and golf bag straps.




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       24.    The key discovery came when Hyper-Elastic Polymer™ was molded in a

shape that could “relax” under pressure points, redistributing the pressure to other

areas. The same feature turned out to provide highly effective back support in

mattresses.

       25.    As time went on, the Pearces or their companies licensed predecessor

products of Purple to numerous different entities, including makers of critical care

medical beds (Stryker Medical); consumer mattresses in Europe (Svane by Ekornes),

Japan (Francebed), and Australia (Sleepmaker); backpack straps (Jansport); shoe

insoles (Dr. Scholl’s Massaging Gel and Sof-Sole); pillows (Sleep Innovations); soft-

catch toy balls (Nickelodeon); wheelchair cushions (EquaPressure); and many other

advanced cushioning products.

       26.    Eventually, the Pearce brothers created a patented machine called

Mattress Max™, which took over two years and several million dollars to develop. Now,

the Mattress Max™ is used to make Hyper-Elastic Polymer™ in the USA in sizes large

enough to fully cover a king-sized mattress, and at production rates and costs that allow

the products to be sold affordably online. Additional innovations and improvements

were made over time, including as to the non-toxic anti-tack powder that prevents the

mattresses and pillows from sticking to themselves and enables more effective

packaging and delivery to customers.

       27.    In all, the Pearce brothers have over 30 cushioning patents, and they are

known the world over as the premier source for superior cushioning technology.




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                            Purple’s Online Marketing Strategy

          28.   Beginning in 2016, Purple embarked upon a marketing and sales strategy

designed to get its products into the hands of consumers at better-than-competitive

prices.

          29.   In particular, and in addition to its efforts to keep costs for its made-in-the

USA products low, Purple has successfully focused upon the “Bed in a Box” (“BIB”)

mattress market segment. Purple does not have brick and mortar stores but instead

sells its bedding products solely through an e-commerce platform.

          30.   Purple’s competitors in the BIB market include GhostBed, Casper, Leesa,

and Tuft & Needle, among others.

          31.   The cost savings from this market strategy, which are passed along to

consumers, are illustrated by a graphic on Purple’s website:




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       32.    In response to online orders, Purple delivers mattresses to consumers for

a risk-free trial of the Purple® Bed. In fact, Purple currently offers consumers 100 days

to try its mattress product, and it provides a full refund if the customer is not satisfied.

       33.    The BIB segment is the fastest growing segment in the multi-billion-dollar

mattress industry. In 2015, the BIB market only accounted for an estimated 9% of

online mattress purchases, but by 2016 the BIB market had grown to an estimated 30%

of online purchases, representing a growth in the hundreds of millions of dollars.

       34.    For example, one estimate is that the BIB market share of $800 million in

2016 will grow to $1.4 billion by the end of 2017.

       35.    Although Purple did not launch its mass production and major marketing

campaign until January 2016, Purple has become one of the four leading BIB

companies, experiencing exponential and rapid growth.

       36.    Indeed, Purple’s website has drawn at least tens of millions of visitors, and

its marketing videos have drawn hundreds of millions of views. Purple’s high online

visibility may actually be contributing to Defendants’ efforts to malign Purple by drawing

additional visitors to the HMR Website and related social media.

       37.    Given Purple’s success, Purple poses a significant threat to its

competitors, including in particular GhostBed, which accordingly has a strong incentive

to undermine Purple in the BIB market.

                             The Mattress Review Business

       38.    Because of the already-large traditional mattress market and the growing

BIB market, and because of the importance of customer and other reviews to an e-


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commerce market strategy, a number of websites have emerged that include reviews of

both traditional and BIB mattresses. These websites include not just platforms for

consumer reviews, but also websites that purport to offer “professional” or “test-based”

reviews of mattresses, such as the HMR Website.

       39.    Because Purple relies strictly on an e-commerce sales strategy, online

comments and reviews can be very significant to its business.

       40.    For example, a March 2016 Wall Street Journal article described the

importance of reviews in this new market segment, discussing one such customer

named Will Haley:

              It is a process aimed at the often wealthier, younger and busy
              shoppers who care less about kicking the tires and more
              about convenience. Mr. Haley says he felt comfortable buying
              the mattress sight unseen because online reviews are
              enough quality control. “Anything I can buy online, I do,” he
              says.

(Emphasis added).

       41.    The Monahan Defendants appear to agree with this perspective. As they

posted on the HMR Website:




https://www.honestmattressreviews.com/mattress-reviewers/

       42.    Purple welcomes the intense customer and reviewer scrutiny that is found

in the marketplace of ideas that is the internet. Purple’s products are high-quality, safe,

and deliver on the promise of providing a superior sleep experience to its customers.




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       43.    Reviews that are false or likely to confuse or mislead consumers pose a

substantial threat to Purple, which relies so heavily upon an e-commerce platform,

including the associated marketing of its products.

                The HMR Website and the Campaign Against Purple

       44.    In recent months, Purple became aware of a new mattress review

website, the HMR Website, which purports to be an “honest” and “unbiased” mattress

review service. Starting in January 2017, Purple discovered that the HMR Website had

begun posting false information regarding Purple and its products, including posts

calling into question the safety of the Purple® Bed products.

       45.    Over the course of just a few weeks, the HMR Website has made five (5)

posts regarding Purple, which are prominently displayed on the HMR Website and are

misleadingly represented as “articles” and/or “breaking news.” These posts directly

attack Purple and its products, making both literally false statements and statements

that are highly likely to mislead consumers.

       46.    Each of these posts or “articles” is readily accessible to the public. The

HMR Website contains multiple links to each post, such that the posts can be accessed

in numerous ways through the HMR Website, and the images associated with the posts

are continually displayed to consumers throughout the HMR Website. Defendants have

also posted all of these posts (or links to the posts) on various social media platforms,

including the HMR Social Media. The posts can also be located through simple internet

searches, including through Google.




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      47.    The “Articles” are titled as follows:

             (a)    “WHAT EXACTLY IS THAT WHITE POWDER ON PURPLE’S
                    MATTRESS?” (the “White Powder ‘Article’”).

             (b)    “A DEEPER INVESTIGATION INTO PURPLE MATTRESS &
                    PILLOWS WHITE POWDER” (the “Purple Investigation ‘Article’”).

             (c)    “PSA | DUE TO PURPLE’S UNKNOWN POWDER WE’RE
                    REVOKING OUR ENDORSEMENT” (the “Revoked Endorsement
                    ‘PSA’”).

             (d)    “PURPLE ACKNOWLEDGEMENT OF THE WHITE POWDER
                    STILL MISLEADS CONSUMERS” (the “Purple Misleads
                    Consumers ‘Article’”).

             (e)    “MATTRESS REVIEWERS HAVE A RESPONSIBITY TO
                    ACKNOWLEDGE CONSUMER SAFETY” (the “Responsibility
                    ‘Article’”).

         Defendants Have No Evidence That Purple’s Products Are Unsafe

      48.    The overall message of the “Articles” posted by Defendants is clear:

Purple’s products are unsafe, pose a danger to consumers, and Purple has something

to hide. This message, however, is demonstrably false and unsupported by any

evidence.

      49.    For instance, upon information and belief, none of the Defendants have

conducted any reliable or conclusive safety or other testing of Purple’s products.

      50.    Defendants also have no evidence to suggest that Purple’s products are in

any way unsafe.

      51.    Despite these facts, and despite the Monahan Defendants having

obtained at least one material information statement regarding the Purple® Bed product,

the Monahan Defendants have chosen to ignore both the publicly-available safety

information regarding Purple’s products and the lack of any information to suggest that

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Purple’s products are unsafe. Instead, Defendants have intentionally elected to launch

an unfounded campaign of false and misleading statements and innuendos against

Purple and its products, causing reasonable consumers to believe that Purple’s

mattress and pillow products have been reported in “articles” founded upon an

independent investigation to be unsafe and in need of warnings, that Purple is hiding

those facts from consumers, and that Purple is knowingly putting the health of

consumers at risk.

      52.    Since the campaign commenced, many customers have reported their

confusion regarding the safety of Purple’s products and their decisions not to purchase

Purple’s products based on information posted on the internet by Defendants, such that

Purple is suffering both lost sales and harm to its goodwill and reputation. The numbers

are increasing every day.

                     The First Post: The White Powder “Article”

      53.    The White Powder “Article” was posted on the HMR Website in

approximately mid-January 2017, setting the stage for Defendants’ smear campaign.

      54.    The White Powder “Article” purports to ask a series of inflammatory

questions about a white, powdery substance that appears on Purple® Bed products.

The “Article” also makes statements that are false and likely to mislead or confuse

consumers to believe (among other things) that Purple’s products – including the

powder substance on the mattresses – are dangerous and that Purple is deliberately

withholding safety information from consumers.




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               False and Misleading Statements Regarding Product Safety

       55.    The inflammatory questions in the White Powder “Article” include the

following:




       56.    Despite the lack of any evidence to support the claim, these questions

clearly are designed to mislead consumers to believe that Purple’s products are unsafe.

       57.    Moreover, the White Powder “Article” falsely suggests that the powder on

Purple’s products is “Talcum Powered [sic],” references multi-million dollar lawsuits

involving babies,” and indicates that baby powder has been found to cause ovarian

cancer:




       58.    As with the other inaccurate and unfounded statements in the White

Powder “Article,” these statements deliver the unmistakable message that the powder is

or contains talcum powder (when the call referenced on the website makes clear that

the powder is not talcum powder) or some other unknown harmful substance, and that

Purple’s products are unsafe, toxic, and cause cancer.




          False Statements Regarding Purple’s Alleged Lack of Responsiveness


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       59.    The White Powder “Article” also includes statements falsely representing

that Purple is withholding safety information from consumers and has failed to respond

to inquiries regarding the safety of its products:




       60.    The White Powder “Article” further falsely asserts that Purple is not

interested in the consumer or consumer safety:




       61.    Another statement in the White Powder “Article” likewise falsely indicates

that Purple is not transparent with consumers, is withholding safety information from

consumers, and (again) that Purple’s products are not safe:




       62.    In fact, the White Powder “Article” intentionally cements the suggestion

that Purple is improperly withholding safety from consumers by giving it an “F” grade in

that category:




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                     The Second Post: The Investigation “Article”

         63.   The Investigation “Article” was posted within a week of the White Powder

“Article,” and it builds upon the same theme. The Investigation “Article” was posted with

the headline “BREAKING NEWS” in all capital letters.

         64.   Like the White Powder “Article,” the Investigation “Article” purports to ask

a series of inflammatory questions calling both the safety of Purple’s products and the

integrity of its business into question, including numerous false and misleading

statements regarding those topics.

         65.   For example, the Investigation “Article” repeats the statements falsely

suggesting that Purple has been withholding safety information from consumers and

has not responded to inquiries, such as that “Purple elected not to respond” to email or

social network inquiries (and Purple is not aware of any such attempts):




         66.   The Investigation “Article” also reiterates the inflammatory questions

included in the White Powder “Article,” again strongly suggesting that Purple’s products

are unsafe:




    “




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       67.    Although Purple uses only new materials in its manufacturing, the

Investigation “Article” inaccurately states that Purple does not use new materials in its

products, again raising the specter that Purple’s products are dangerous:




       68.    The Investigation “Article” makes unsupported statements to the effect

that consumers will inhale the powder for eight hours while sleeping, again for purposes

of suggesting that Purple’s products are dangerous:




       69.    In addition, the Investigation “Article” suggests that Purple is obligated to

have a certain level of “scientific proof” about its products, that it does not have this level

of proof, and that Purple’s products are unsafe as a result:




       70.    Again creating the impression that Purple’s products are unsafe and its

product testing is inadequate, the Investigation “Article” makes statements that Purple’s

products are not safe for long term contact, that Purple is acting “recklessly” as to an

“untested substance,” and that Purple’s products will “impact one’s short or long-term

health:”



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       71.    As yet another example of these groundless claims, the Investigation

“Article” makes statements suggesting that the powder is the same as a “ground down”

“plastic mustard container” or “glass coke bottle,” which consumers will inhale every

night for “eight to ten hours,” yet again suggesting that Purple’s products are not safe:




       72.    Following these statements, the Investigation “Article” embeds a YouTube

video showing the well-known-to-internet-users “cinnamon challenge,” in which a

person attempts to swallow a spoon of cinnamon. The video includes an opening

image of a woman who appears to be exhaling a caustic, brown substance:




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      73.    The title page of the video is as follows:




      74.    The cinnamon challenge video, which has absolutely nothing to do with

Purple or its products, shows people choking, coughing, gagging, spitting, crying, and

attempting to rinse their mouths out with water.



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       75.    It has been reported in the media that some people have literally died as a

result of the cinnamon challenge.

       76.    The Investigation “Article” goes on to discuss the cinnamon challenge as if

to compare it to the Purple products, emphasizing the words “dragon breath” and

reports to “poison control:”




       77.    The Investigation “Article” further makes statements suggesting that

Purple was approached by “customers” “with respiratory conditions such as Asthma,”

when – according to the HMR Website – there was a single telephone call made by

someone who did not say they had asthma (and Purple is unaware of any additional

approaches by “customers” with asthma). The statements are designed to confuse

consumers and cause them to believe that Purple’s products are harmful to persons

with asthma, Purple’s products are not safe, and Purple is withholding safety

information from consumers:




       78.    The Investigation “Article” falsely asserts that Purple is engaging in a

“deceptive business practice” that could “potential [sic] irritate or even impact they [sic]

health of tens of thousands of unknowing consumers,” suggesting that Purple is acting

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intentionally and illegally to deceive its customers, including by hiding the fact that its

products are unsafe and pose health risks to “tens of thousands” of customers:




       79.    The Investigation “Article” likewise alleges that Purple is unlawfully

withholding information from consumers that it should be required to have a disclosure

regarding the powder on its “law tag” (also suggesting that Purple is violating the law):




                  The Third Post: The Revoked Endorsement ‘‘PSA”

       80.    The Revoked Endorsement “PSA” was posted the week following the

Investigation Article (just two weeks ago). Its purpose and effect is to increase the

significance of the campaign in the minds of reasonable consumers.

       81.    The Revoked Endorsement “PSA” is or was prominently displayed on the

homepage of the HMR Website, in a series of stories that are presented as if they are

legitimate news articles, with the headlines in all capitals of “EDITOR’S TOP PICKS”

and “INDUSTRY NEWS”, with the tag line “PSA | Due to Purple’s Unknown Powder

We’re Revoking Our Endorsement,” as follows:




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       82.    The top of the Responsibility “Article” also includes, in larger form, the

image of a large “”X” in the red circle:




       83.    The Revoked Endorsement “PSA” is and was also accessible to the public

in a number of other ways through the HMR Website, and as a result of internet

searches such as through Google.

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       84.    These images and language are false and misleading because they

suggest to consumers that HMR is reporting objective “news,” through the use of the

prominently displayed headlines “EDITOR’S TOP PICKS” and “INDUSTRY NEWS,”

when HMR is not a news organization.

       85.    The Revoked Endorsement “PSA,” like the prior “Articles,” purports to ask

a series of inflammatory questions, designed to convey to consumers a literally false

and misleading message that the Purple mattress is unsafe, and that Purple is

withholding safety information from consumers.

       86.    The Revoked Endorsement “PSA” includes the initials “PSA,” obviously

standing for “Public Service Announcement,” which falsely suggests independence and

altruism, that the “PSA” originated from or is endorsed by a governmental body, and

that it is related to health and safety, that is, that Purple’s products are not safe.

       87.    The Revoked Endorsement “PSA” includes statements about Purple

failing to give a “consumer warning,” “deliberately choosing not to inform customers,”

and “deliberately” deceptive “business practices;” and references to multiple customers

“with respiratory conditions,” “Asthma,” and the “seriousness” of “inhalation of this

powder.” Again, these statements are designed to suggest – without any evidence –

that Purple’s products are unsafe and that Purple is withholding safety information from

consumers:




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      88.    The Revoked Endorsement “PSA” also alleges that Purple has decided to

“run fast and figure out problems later,” suggesting that Purple’s products are not safe

and that Purple is withholding safety information from consumers:




      89.    Also included are statements that Purple is “subjecting consumers to a

powder that could impair or impact their physical health:”




      90.    As with the other “Articles,” the Revoked Endorsement “PSA” falsely

suggests that consumers purchasing Purple’s products will be “directly inhaling a white

powder substance” which “could be damaging to those with respiratory issues,” and

falsely asserts that Purple has used “made up tests:”




                                           25
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     Purple Responds to the Misleading Posts by Defendants HMR and Monahan

       91.    Convinced that the HMR Defendants are not interested in an actual, fair

dialogue, and that they would intentionally continue their clever use of innuendo, indirect

intimations, and ambiguous suggestions to misrepresent anything submitted by Purple

to the HMR Website, Purple attempted to respond to Defendants’ false, misleading, and

confusing statements by posting truthful information about the non-toxic plastic, anti-

tack powder on its own HMR Website:




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       92.      Purple explained, among other things, that the purpose of the non-toxic

powder was to prevent Purple’s Hyper-Elastic Polymer™ from sticking to itself, that the

powder is non-toxic, chemically inactive, is harmless, and is as safe as eating with a

plastic fork:




                                             ...




       93.      Purple also explained that the powder was so innovative as to be

proprietary, and that it could not release the details until after its pending patents

became publicly available, a standard and well-known business strategy employed by

every responsible corporate entity that is protecting its intellectual property:




                                             27
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              The Fourth Post: The Purple Misleads Consumers “Article”

       94.     The Purple Misleads Consumers “Article” was posted shortly after

February 13, 2017.

       95.     Like the Revoked Endorsement “PSA,” the Purple Misleads Consumers

“Article” is or was prominently displayed on the homepage of the HMR Website, in the

top-left of a series of stories that are depicted as if they are legitimate news articles, with

the headlines in all capitals of “BREAKING NEWS” and “INDUSTRY NEWS,” with the

tag line “Purple’s Acknowledgement Of The White Powder STILL Misleads Consumers,”

as follows:




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      96.    These images and language are false and misleading because they

suggest to consumers that HMR is reporting objective “news,” through the use of the

prominently displayed headlines “LATEST NEWS,” ”BREAKING NEWS,” and

INDUSTRY NEWS.” HMR is not a news organization, and Monahan is not a journalist.


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In fact, much of the content on the HMR Website is lifted directly from other websites,

without permission, license, or attribution.

       97.    The Purple Misleads Consumers “Article,” like the prior “Articles,” asks a

series of inflammatory questions designed to convey to consumers a literally false and

misleading message that the Purple mattress is unsafe and that Purple is withholding

safety information from consumers.

       98.    By virtue of its title, the Purple Misleads Consumers “Article” falsely

asserts that Purple is engaged in a deliberate campaign to deceive consumers,

including by improperly withholding safety information from consumers.

       99.    The Purple Misleads Consumers “Article” claims that the HMR Defendants

have been making repeated inquiries to Purple for information, for “159” days, when the

HMR Website identifies only two such instances, generic telephone inquiries to the

general customer service department, again for purposes of demonstrating that Purple’s

products are hazardous and that Purple is withholding safety information from

consumers:




       100.   The Purple Misleads Consumers “Article” falsely suggests that Purple is

rejecting accountability for consumer safety:




                                               30
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       101.   For example, the Purple Misleads Consumers “Article” reports that Purple

does not have safety documentation, that Purple has an obligation to release such

information, and that Purple’s public statements on these issues are false:




       102.   The Purple Misleads Consumers “Article” further claims Purple is not

transparent and is not “honest and upfront” about the “microscopic powder form that

could be inhaled,” in yet another transparent attempt to harm Purple’s reputation,

integrity, and goodwill:




       103.   The Purple Misleads Consumers “Article” also implies that Purple had

experienced an “unforeseen problem” in its product development and was making

“adjustments” as a result, again for purposes of showing that Purple’s products are

unsafe and that Purple is withholding safety information from consumers:




                                           31
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       104.   The Purple Misleads Consumers “Article” asserts that Purple has or is

going to change the powder to hide the fact that it was not safe, that Purple is treating

its customers as “guinea pigs,” and that Purple does not have safety information:




       105.   Defendants further assert in the Purple Misleads Consumers “Article” that

Purple does not use “science,” that Purple does not think facts and science are

important and that, because Purple has a patent pending, it should disclose its secret

formula – misleading the consumer into believing that patent applications are public

(and failing to disclose to consumers the risks from a premature disclosure):




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        106.   Defendants further claim that Purple is dismissive of its customers, thinks

they are “naïve,” and is “insulting” and otherwise withholding safety information from

them:




        107.   The Purple Misleads Consumers “Article” includes an inflammatory

graphic depicting Purple’s products as sausage, complete with an image of a meat

grinder with plastic items being poured onto a Purple mattress:




                                             34
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       108.   The Purple Misleads Consumers “Article” includes statements that are

designed to mislead consumers into believing that Purple has definitively refused to

provide information to demonstrate that its products are safe, despite the fact that


                                            35
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Purple has posted such information on its own website, and again makes numerous

inflammatory and misleading statements in an effort to support its allegation that

Purple’s products are unsafe:




       109.   The Purple Misleads Consumers “Article” has statements to the effect that

Purple’s products are like “inhaling gasoline,” that Purple does “not put[] consumer

safety first,” and that Purple has directly contradicted itself:




                                              36
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      110.   The Purple Misleads Consumers “Article” suggests that Purple is putting

its 600 employees’ health at risk, that Purple should be providing “training and

education” on health risks to its employees, and that Purple should have its employees

wear protective gloves:




                                            37
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      111.   Like the previously-discussed “Articles,” the Purple Misleads Consumers

“Article” falsely suggests that consumers purchasing Purple’s products will be “directly

inhaling a white powder substance,” which “could be damaging to those with respiratory

issues,” and falsely accuses Purple of using “made up tests:”:




                                           38
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                     The Fifth Post: The Responsibility “Article”

       112.   The Responsibility “Article” was posted the next day, and it attempts to

deflect Defendants’ singular attack on Purple by trying to guilt other reviewers into

joining its campaign of false and misleading statements against Purple.

       113.   A link to the Responsibility Article is or was prominently displayed on the

homepage of the HMR Website, below the top “Article,” with the headline in all capitals

of “BREAKING NEWS” and “INDUSTRY NEWS,” with the tag line “Do Mattress

Reviewers Have A Responsibility To Acknowledge Consumer Safety?,” and including a

large “X” in a red circle – as if to designate a poisonous substance – as follows:




                                            39
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       114.   The top of the Responsibility “Article” also includes, in larger form, the

image of the large “X” in the red circle:




       115.   These images and language are false and misleading because they

suggest to consumers that HMR is a legitimate news source reporting objective “news,”

through the use of the prominently displayed headlines “BREAKING NEWS” and

“INDUSTRY NEWS,” when HMR is not a news organization and Monahan is not a

journalist.

       116.   The Responsibility “Article,” like the prior “Articles,” includes a series of

inflammatory questions and statements, all of which are designed to convey to

consumers the literally false and misleading message that the Purple mattress is

unsafe, and that Purple is withholding safety information from consumers.




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      117.    For example, the Responsibility “Article” has statements suggesting that a

physician’s Hippocratic Oath is applicable to mattress makers and “poison,” falsely

suggesting that Purple’s products are not only unsafe, but might poison the customer:




      118.    The Responsibility “Article” includes a statement that mattress makers

have a responsibility to ensure the complete safety of their products, which again falsely

suggests that Purple has not comported with its safety obligations and that its products

are unsafe:




(Emphasis added).

      119.    The Responsibility “Article” has a bolded, red statement not only falsely

suggesting that Purple’s products are not safe, but also that Purple has not provided

any evidence of safety (when in fact Purple has posted evidence to support the safety of

its products), which also challenges other reviewers to join Defendants’ campaign of

wrongfully harming Purple’s reputation with false and misleading statements and

innuendos:



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      120.   The Responsibility “Article” falsely states that consumers purchasing

Purple’s products will be “directly inhaling a white powder substance” which “could be

damaging to those with respiratory issues,” falsely stating that Purple was using “made

up tests,” suggesting that Purple’s products are not safe, and claiming that Purple is

withholding safety information from consumers:




      121.   The Responsibility “Article” closes by providing a link to the other false and

misleading “Articles” and the Revoked Endorsement “PSA,” compounding and

expanding the overall false and misleading messages that Purple’s products are not

safe and that Purple is misleading consumers:




                                            42
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                            Cumulative Impact and Grouping

        122.   The overall, cumulative impact of the five separate “Articles,” the

numerous inflammatory, false, and misleading statements, and the groupings of images

and the statements is to create the false and misleading impression that Purple is hiding

information and that its products are dangerous, all in an effort to smear Purple’s

reputation, products, and goodwill, and to divert sales to GhostBed.

                          Monahan’s Affiliation with GhostBed

        123.   Despite Monahan’s efforts to hide his involvement with GhostBed, upon

investigation, Monahan and Social Media Sharks are closely associated with GhostBed.

Specifically, Monahan previously identified himself as GhostBed’s Chief Brand Officer,

he communicated with GhostBed’s customers with a GhostBed email address,

ryan@ghostbed.com, and GhostBed has paid roughly $150,000 to Social Media Sharks

for Monahan’s services.

        124.   From 2015 through the present, Monahan, purportedly through Social

Media Sharks, has provided extensive digital marketing and social media services to

GhostBed, through an entity called Achieve Agency (“Achieve”).

        125.   Monahan worked with GhostBed, Marc Werner, and Ashley Werner on

competitive advertising targeted at Purple.

        126.   Monahan launched the HMR Website and Social Media in about August

2016.

        127.   On October 10, 2016, Monahan registered HMR as a Florida limited

liability company.


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       128.   Monahan is sole the owner of HMR and the sole operator and contributor

to the HMR Website and Social Media.

       129.   Upon information and belief, GhostBed, Nature’s Sleep, Marc Werner, and

Ashley Werner have actively and knowingly caused and supported the statements on

the HMR Website; have directed, authorized and participated in the creation and

publishing of the statements; and have been the active and conscious force behind the

creation and publishing of the statements.

       130.   At or around the same time he formed HMR, Monahan and GhostBed

commenced efforts to reduce or remove evidence of Monahan’s association with

GhostBed from their digital footprints.

       131.   For example, a cached Google page shows that Monahan was an author

on www.ghostbed.com:




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     132.   Similarly, a cached Google page from the GhostBed website identifies

Monahan as an author on www.ghostbed.com:




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      133.   This information showing Monahan as an author and has been

intentionally removed from the internet.

      134.   To conceal its affiliation with Monahan, GhostBed changed the author of

all of Monahan’s post on the GhostBed website to “Sleepteam.”

      135.   Monahan’s Twitter profile previously identified him as the Chief Brand

Officer of GhostBed:




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       136.    Upon information and belief, the reference to GhostBed was removed in

approximately October 2016, but in any event it no longer appears on Monahan’s

Twitter profile:




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      137.   Similarly, Monahan’s LinkedIn profile also previously identified him as the

“Chief Brand Officer” for GhostBed:




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       138.   Upon information and belief, the reference to GhostBed was removed in

approximately October 2016, but in any event, it has been removed from Monahan’s

LinkedIn profile.

       139.   Monahan identified himself as a Chief Brand Officer for GhostBed when

he spoke at a Content and Commerce Summit put on by a company called Digital

Marketer in September of 2016.

       140.   In September of 2016, Monahan made a post to a Facebook page about a

tragic occurrence involving a GhostBed employee who had been severely injured.




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In the post, Monahan describes himself as a member of “her current and former work

family.”

       141.   Monahan also sent an email blast of the post to GhostBed customers, in

which he again identified himself as GhostBed’s Chief Brand Officer.

       142.   In late 2016, in connection with a review of a GhostBed product on

Amazon, a customer emailed Monahan, who responded by email on behalf of

GhostBed and listed his title as GhostBed’s “Chief Brand Officer.”

       143.   Monahan is listed as the contact for a contest in which a veteran could

enter to win a free GhostBed mattress, with the email address of “ryan@ghostbed.com,”

and instructions to mail requests for the lists of winners to GhostBed’s business

address, “Attn: Ryan Monahan.”

       144.   In a case filed in federal court in Florida by GhostBed, Nature’s Sleep, and

Werner Media Partners against Casper Sleep, Inc., and others, GhostBed, Monahan,

HMR, and Social Media Sharks are represented by the same, well-heeled New York

City law firm Carlton Fields Jorden Burt, P.A., including Ethan Horwitz of that firm, who

now represents GhostBed in this case.

       145.   Upon information and belief, GhostBed, Marc Werner, Ashley Werner, and

Nature’s Sleep have intentionally induced, directed, encouraged, approved, and or

authorized HMR, SMS, and Monahan to make the false and misleading statements on

the HMR Website and Social Media, and the Monahan Defendants have acted as

agents of GhostBed with respect to the conduct alleged herein.




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                                  Ashley Werner
                Has Posted False Reviews of Purple on Amazon.com

       146.   In May of 2016, Ashley Werner, who is Mark Werner’s daughter, posted a

fake review on Amazon.com of the Purple® Bed. To disguise her identity, she posted

the review under an alias, “Cami J.” The review made false and misleading statements

remarkably similar to some of those now appearing on the HMR Website, including

purported concerns about the “powder,” a baby, “Johnson and Johnson,” “cancer,” and

“safety:”




            Defendants Are Surreptitiously Working to Promote GhostBed
                          Over Other Mattress Companies

       147.   Upon information and belief, Defendants are working together to promote

GhostBed products over those of other manufacturers. In return, GhostBed is

compensating the HMR Defendants through Social Media Sharks.



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       148.   Monahan, purportedly through Social Media Sharks, continues to work for

and receive payment from GhostBed on its social media and digital marketing and,

upon information and belief, the Monahan Defendants are now attacking Purple on the

HMR Website and Social Media for purposes of benefitting GhostBed and damaging

Purple.

       149.   Upon information and belief, Defendants are acting in concert to hide the

fact that GhostBed is behind the campaign of false and misleading information

unleashed on Purple.

       150.   GhostBed is listed as one of the very highest rated mattresses on the

HMR Website, appearing as the third entry on the lengthy list of companies on the

“Reviews” tab.

       151.   The only other mattress companies that have received similarly-high

rankings are either not participants in the BIB market, or they are small players in the

BIB market that pose no threat to GhostBed.

       152.   Before the Monahan Defendants updated the HMR Website in response

to this case, the two companies listed before GhostBed on the “Reviews” tab on the

HMR Website were a $4,699 mattress from Tempur-Pedic, which is not in the BIB

segment and is not price-competitive; and a $1,199 mattress from Nest which, although

it is part of the BIB market, is not price-competitive and has not yet even been reviewed

on the HMR Website, but has nevertheless received a “World-Class” ranking:




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       153.   Besides GhostBed and Nest, which had not even been reviewed yet, none

of the other players in the BIB market were given the “World-Class” rating on the HMR

Website. In fact, the next competitor that posed any threat to GhostBed was Casper,

which was ranked far down – 19th – on the list.

       154.   Purple’s mattress, which was 29th on the list, was the only product that, at

the time this case was filed, had received a “Poor” rating on the list, depicted through

the use of the poison-suggesting red X:




      The HMR Website’s Claims of Neutrality and Independence Are False,
            Misleading, and Highly Likely to Confuse Consumers

       155.   The HMR Website is carefully designed to convey the overall message

and impression to consumers that it is independent, unbiased, and unaffiliated with any

particular mattress company.

       156.   Among other things, numerous “disclaimers” on the HMR Website are

designed to contribute to this overall perception.


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                            The Compensation Disclaimers

      157.   The HMR Website contains a number of disclaimers to the effect that the

HMR Website, HMR, and Monahan are not compensated by any party for any of the

content on the HMR Website, including the purported mattress reviews and

comparisons (the “Compensation Disclaimers”).

      158.   For example, a statement that, “Our website receives zero affiliate

commissions” appears on the footer of every page of the HMR Website:




      159.   The “What is Honest Mattress Reviews” page includes the following

statement:




      160.   The Responsibility “Article” includes additional statements disclaiming any

commission or other relationship with mattress companies, and emphasizing integrity:




                                          54
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                   The “Ethics and Free From Influence Disclaimers”

      161.   The HMR Website also contains a number of disclaimers to the effect that

the HMR Website, HMR and Monahan are ethical and free from the influence of any

mattress manufacturers (the “Ethics and Free From Influence Disclaimers”).

      162.   Initially, the Compensation Disclaimers are clearly designed to convey the

overall message that the HMR Website, HMR, and Monahan are ethical and free from

the influence of mattress manufactures.

      163.   The HMR Website includes a number of other statements to this same

effect, such as statements on the “Disclaimer” page referencing Monahan’s purported

“ethics,” i.e., “my ethics,” a statement that the HMR Website is “Free from corporate or

conglomerates … [that] silence or shape editorial narratives and truths,” that the posts

on the HMR Website “have total editorial independence,” and that “No one has

influence on … the posts.”

      164.   The “What is Honest Mattress Reviews” page similarly includes a number

of statements to this effect, such as claims that the HMR Website is not interested in

“influencing a purchase decision to promote a company;” the HMR Website does not

reflect “a few large companies controlling the narrative;” the HMR Website “allows

companies and consumers uncensored truth;” the HMR Website provides “the most

accurate data available;” the HMR Website does “not want just a few giant companies

to own the narrative;” and information shared on the HMR Website must be “accurate

and true.”




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      The HMR Website’s Mattress Rankings Are Not Independent and Unbiased

       165.    Despite the HMR Website’s numerous representations of its

independence and neutrality, the HMR rankings of mattress manufacturers appearing

on the HMR Website are materially misleading to consumers.

       166.    For instance, GhostBed is listed as one of the very highest rated

mattresses on the HMR Website.

       167.    As noted, when this suit was first filed, GhostBed was ranked third by the

HMR Website, after two mattresses that were not in the BIB market or otherwise

competitive with GhostBed.




              The HMR Website and the Disclaimers are False and Misleading

       168.    The overall impression that the HMR Website is unbiased and

independent is literally false and is significantly likely to mislead or confuse consumers,

including for the following reasons:

               (a)    The HMR Website fails entirely to disclose that Monahan and his

       company, SMS, were or remain affiliated with GhostBed, including as

       spokespersons for the company.


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             (b)    The HMR Website fails to disclose that Monahan has served as or

      has been the Chief Brand Officer of GhostBed.

             (c)    The HMR Website fails to disclose that Monahan has received, at

      least in the past, financial compensation from GhostBed.

             (d)    The HMR Website fails to disclose that, at or about the time that he

      created HMR and the HMR Website, Monahan attempted to scrub evidence of

      his prior affiliation with GhostBed from his digital footprint.

             (e)    The HMR Website does not disclose the Monahan’s association

      with GhostBed continues to this day, including by virtue of his marketing work for

      GhostBed, that he is promoting GhostBed and attacking Purple on the HMR

      Website, or that he is doing so in exchange for some form of financial or other

      remuneration from GhostBed and/or related persons or entities.

    Since This Case Was Filed, Defendants Have Posted Additional False and
                   Misleading Information Regarding Purple

      169.   After the Court entered a temporary restraining order (“TRO”) in this case,

the “Articles” and “PSA” were temporarily removed from the HMR Website.

      170.   The Court later dissolved the TRO, after which the “Articles” and “PSA”

were re-posted on the HMR Website.

      171.   During the period from when the case was filed to the present, no mention

has been made anywhere online of HMR and Monahan’s association with GhostBed.

              After The Case Was Filed But Before The TRO Entered

      172.   After this case was filed but before the TRO was entered, Defendants

posted a new “article” entitled “Purple Mattress Launches Massive Lawsuit to Silence

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Honest’s Consumer Safety Questions” (the “Massive Lawsuit Article’”), including

numerous false and misleading statements, prominently on HMR Website’s home page:




      173.   As with the “Articles” addressed above, the Massive Lawsuit “Article” is

misleadingly touted as “BREAKING NEWS,” “EDITOR’S PICK,” and “INDUSTRY

NEWS,” inaccurately leading to the impression that it was prepared by a legitimate

news organization.

      174.   The HMR Website invites readers of the Massive Lawsuit “Article” to

various social media websites, including Facebook, Twitter, and Pinterest.

A link to the Massive Lawsuit “Article” was also posted to a third-party website called

GoFundMe, https://www.gofundme.com/purplesueshonest, where Monahan has

apparently “launched” a fundraising campaign to raise $25,000 to pay the legal fees to

defend this lawsuit (the “HMR Campaign”).

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                                        Post-TRO

       175.   Shortly after the Court entered the TRO, but before it was dissolved, the

reviews page was altered so that Purple was listed at the very top of the lengthy list of

mattress companies that HMR purports to review, except that in place of the red circle

with an X depicting the “poor” rating it previously gave to Purple, an image of the poop

emoji appears, along with the word “CENSORED” and the phrase “NO RATING DUE

TO COURT ORDER,” in red, all-capital letters:




       176.   Clicking on the blue “Review” box to the far right of the line concerning

Purple led to a new “article,” on the “Purple Mattress Review” page, entitled

“CENSORED BY COURT ORDER” (the “CENSORSHIP ‘Article’”). The article was

accompanied an image of a man in a black suit holding up a law enforcement badge,

across which appeared the words “CENSORED BY COURT ORDER:”




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        177.   Appearing beneath this image was the text of the CENSORSHIP “Article,”

which, among other things, included numerous false and misleading statements:

   •    the TRO is unconstitutional;

   •    this lawsuit is nothing more than a SLAAP suit;

   •    Purple is trying to “sue the negative reviews out of existence” and Purple and its

        counsel are “SLAAP SUIT FILING SCUMBUCKETS;” and

   •    Purple’s counsel is lying and a “pretty slimy piece of crap,” and when the judge

        “sees what garbage they stuck under his nose to sign, the judge will bench slap

        them like a side of beef.”

        178.   The complete text of the CENSORSHIP “Article” appears as follows:




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      179.   The CENSORSHIP “Article” is presented as if it is “news,” further

misleading consumers as to the purported legitimacy of the contents of the “article” and

the HMR Website as a whole:




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See id.

         180.   After the TRO was entered, the image of a man in a black suit holding up

a law enforcement badge appeared on the HMR Website’s home page, with the words

“CENSORED BY COURT ORDER” stamped across the image in large, red, all-capitals

text:




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       181.   Clicking on the image led the reader to the CENSORSHIP “Article.”

       182.   Also on the HMR Website’s home page was an image that had previously

appeared in connection with the “Massive Lawsuit ‘Article’” but with different text

surrounding it. The image was of a man with tape across his mouth with “FREEDOM”

in large red letters, which was accompanied by a title declaring that a court order is

prohibiting HMR from reviewing Purple and a link (leading to the CENSORSHIP

“Article”) inviting the reader to “click here” to “see why” HMR’s reviews of Purple are not

permitted:




       183.   Defendants posted a number of additional materials on the HMR Website

regarding the lawsuit and Purple while the motions to dissolve the TRO were pending,

including articles asserting their First Amendment rights were being violated, images of

Purple mattresses with powder on them, and otherwise asserting that the lawsuit was

an attempt to squelch Defendants’ rights.


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                               Post-Dissolution of TRO

      184.   Numerous additional false and misleading “articles,” posts, and videos

have appeared on the HMR Website and elsewhere since the TRO was dissolved on

March 15, 2017, including on HMR’s Facebook page. The substance of these posts

has been to declare Defendants’ rights vindicated and to continue to make false and

misleading allegations regarding Purple’s integrity and its products. Nowhere on the

HMR Website is there any mention of the association between HMR, Monahan, and

GhostBed.

      185.   A link to an article entitled “Judge Decides Free Speech Is Still a Right;

Dumps Prior Restrain Order Against Mattress Review Site” (the “Free Speech ‘Article’”)

now appears on the home page of the HMR Website:




      186.    The Free Speech “Article” appears on a website called “Techdirt.”




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      187.   Also included on the HMR HMR Website is an article entitled “1st

Amendment Rights Restored as District Judge Dee Benson Rules on the Motions” (the

“Rights Restored ‘Article’”). A link to Rights Restored “Article” appears on the HMR

Website’s home page.

      188.   Another article that has appeared on the HMR Website is entitled “Press

Release – Honest Mattress Reviews Stands Up for First Amendment Rights in Salt

Lake City” (the “Press Release”). A link to the Press Release appears on the home

page with the headers “Breaking News,” “Editor’s Top Picks,” “Industry News,” and

“Purple Mattress.”

      189.   Upon information and belief, the new articles have all been posted to the

HMR Facebook page.

      190.   On or before March 20, 2017, Defendants posted a video of Monahan

speaking about the lawsuit to both the HMR Website and the HMR Facebook page.

According to the Facebook page, about 67,000 people have viewed the video, the video

has been shared over 800 times, and hundreds of comments about the video and other

posts have been to the Facebook page, including many who have reported they have

changed their minds about buying Purple mattresses.

      191.   Purple no longer appears on the “Reviews” tab of the HMR Website, such

that its products purportedly are not reviewed or ranked. Despite this absence, multiple

“articles” still appear on the HMR Website, and multiple posts and articles have been

posted on Facebook and other social media sites.




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                         Publication of Purple’s Safety Report

       192.   In May of 2017, Purple prominently published on its HMR Website a

substantial report prepared by the Center for Toxicology and Environmental Health

regarding the powder used on Purple’s products (the “Report”).

       193.   The Report was prepared by Michael H. Lumpkin, Ph.D., a board-certified

toxicologist with the Center for Toxicology and Environmental Health, LLC (“CTEH”),

with 15 years of experience in dose reconstruction, chemical dose response

assessment, physiologically-based pharmacokinetic (PBPK) modeling, chemical

emergency response, product stewardship and safety assessments.

       194.   Among other things, the Report declared that the anti-tack powder used

on Purple’s products is safe for and poses no health risks to consumers because the

amount of powder to which a consumer would be exposed from normal use of the

products is miniscule, and the powder itself is nontoxic.

       195.   The report also concluded that even long-term exposure to Purple’s

products, consumers, including asthmatics, would not have adverse health impacts.

       196.   The Defendants’ continued publication of HMR Website posts related to

the purported danger of Purple’s products demonstrates the willfulness of their conduct.

     Purple Has Been Injured, Irreparably Harmed, and Faces Additional and
                          Continuing Irreparable Harm

       197.   Since HMR began publishing the “Articles” and the “PSA” on the HMR

Website, customers have demonstrated actual confusion and concern regarding Purple

and its mattress and pillow products. This confusion has only increased since the

commencement of the lawsuit, the entry of the TRO, and the dissolution of the TRO,

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due to Defendants rapid-fire placement of additional posts, videos, and related materials

on the internet. Customers have also reported they have decided not to purchase

Purple’s products as a result of information published by Defendants on the HMR

Website and elsewhere.

       198.   For example, consumers have asked questions of Purple that are clearly

related to the false and misleading statements on the HMR Website, making references

to Purple’s products being “toxic,” “lawsuits,” “toxic chemicals,” “a cloud of powder” that

would be inhaled, the powder being “talc,” and “asthma.”

       199.   The BIB market is in a period of rapid expansion and growth.

       200.   Capturing market share during a period of rapid expansion and growth is

critical for competitors like Purple.

       201.   As noted, although Purple did not deliver its first mattress until January

2016, Purple has become one of the four leading BIB companies, and has experienced

exponential and rapid growth.

       202.   Purple is the fastest growing player in the BIB segment.

       203.   In one year, Purple nearly caught up to the market leaders in revenue

generation, and if its growth continues, it will surpass its competitors.

       204.   Purple’s very positive goodwill and reputation in the marketplace have

been critical to its rapid growth and success, and Purple has worked hard and made

substantial expenditures to develop these qualities.




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       205.    Because Purple relies strictly upon an e-commerce platform for selling its

bedding products to its customers, its online reputation and goodwill are of critical

importance to its success.

       206.    Defendants’ actions have already harmed and will continue to tarnish

Purple’s goodwill and reputation in the marketplace.

       207.    Defendants’ actions, if successful, threaten to slow Purple’s growth rate,

causing the loss of tens or hundreds of millions of dollars in damage to Purple, which

will be difficult to calculate.

       208.    Defendants’ actions threaten to adversely affect Purple’s ability to attract

and retain key employees needed to manage its growth.

       209.    Defendants’ actions threaten to adversely affect the value that potential

equity partners place on Purple, making it more difficult and expensive – if not

impossible – to raise additional capital.

                                            Alter Ego

       210.    At all times relevant hereto, GhostBed, Nature’s Sleep, and Marc Werner

have been alter egos of each other, and there is such a unity of interest between them

there exist no separate personalities among them.

       211.    Upon information and belief, GhostBed and Nature’s Sleep, as well as

their members, officers, and managers, have failed to recognize and comply with

corporate formalities.

       212.    Upon information and belief, the funds of GhostBed and Nature’s Sleep

are comingled and treated as the same.


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       213.   Werner actively participated in and directed the wrongdoing engaged in by

GhostBed and Nature’s Sleep, as alleged herein.

       214.   At all times relevant hereto, HMR, Social Media Sharks, and Ryan

Monahan have been alter egos of each other, and there is such a unity of interest

between them there exist no separate personalities among them.

       215.   Upon information and belief, Monahan and Social Media Sharks, as well

as its members, officers, and managers, have failed to recognize and comply with

corporate formalities.

       216.   Upon information and belief, the funds of Monahan and Social Media

Sharks are comingled and treated as the same.

       217.   Social Media Sharks actively participated in and directed the wrongdoing

engaged in by the Defendants herein.

       218.   To recognize the corporate forms of between and among Defendants in

this case would sanction a fraud, promote injustice, and result in inequity.

       219.   HMR, Monahan, and Social Media Sharks, and Marc Werner, Ashley

Werner, GhostBed, and Nature’s Sleep are and should be held liable for each other’s

wrongdoing.

                                  CAUSES OF ACTION

                        FIRST CLAIM FOR RELIEF
          (LANHAM ACT FALSE ASSOCIATION & FALSE ADVERTISING –
                          15 U.S.C. § 1125(a)(1))

       220.   Plaintiff incorporates the preceding paragraphs by reference.




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       221.   Defendants, through the HMR Website and otherwise, are making in

commerce numerous false and misleading descriptions and statements of fact

regarding Purple and its goods and services.

       222.   Defendants, through the HMR Website and otherwise, are engaging in

commercial advertising and promotion that materially misrepresent the nature,

characteristics and qualities of Purple and its products, and which are designed to

promote Purple’s competitors over Purple, including, upon information and belief, by

selling advertising to competitors who receive favorable ratings and reviews on the

HMR Website.

       223.   Upon information and belief, Defendants are making material

misrepresentations and misleading descriptions and statements of fact that are

confusing or likely to cause confusion, mistake, and deception as to, among other

things, Defendants’ affiliation or association with other persons or entities, and as to the

sponsorship or approval of Defendants’ services or commercial activities.

       224.   Upon information and belief, Defendants are engaging in commercial

advertising or promotion that misrepresents the nature, characteristics, and qualities of

their own services and commercial activities.

       225.   Many of Defendants’ statements are literally false, both facially and by

necessary implication, and highly likely to mislead, deceive, and confuse consumers.

       226.   Defendants’ misrepresentations have caused and are highly likely to

continue to cause consumer confusion and deceive consumers as to Purple’s goods

and services and the nature, characteristics, and qualities of Purple and its products.


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      227.    Purple is suffering and is likely to continue to suffer both lost and diverted

sales and harm to its reputation and goodwill, in which it has invested heavily and which

it has worked hard to develop over time.

      228.    Purple has suffered and will continue to suffer irreparable injury and

damages as a result of Defendants’ conduct, including harm to its goodwill, reputation,

and market position.

      229.    Monahan, the owner and Editor in Chief of the HMR Website, is personally

liable for Defendants’ violations of the Lanham Act because his is an actual participant

in the conduct at issue, including because he creates, directs, and controls all content

on the HMR Website, including all of the material related to Purple.

      230.    GhostBed, Nature’s Sleep, Marc Werner, Ashley Werner, and Social

Media Sharks each have supported, encouraged, and participated in the HMR Website

and Social Media to such an extent that they are liable with the Monahan Defendants

for the conduct alleged herein.

      231.    Purple is entitled to recover its damages, Defendants’ profits, the costs of

suit, and pre- and post-judgment interest as allowed by law. Because of the willful

nature of Defendants’ conduct and exceptional nature of this action, Purple is likewise

entitled to enhanced damages and attorney’s fees.

                          SECOND CAUSE OF ACTION
             (TORTIOUS INTERFERENCE WITH ECONOMIC RELATIONS)

      232.    Plaintiff incorporates the preceding paragraphs by reference.




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       233.   Through the conduct set forth above, Defendants have intentionally

interfered with Purple’s existing and prospective economic relations, including without

limitation its customers, repeat customers, and potential customers.

       234.   Defendants’ intentional interference has been conducted through improper

means, including but not limited to making false and misleading representations of fact

regarding Purple and its goods and services, and by falsely promoting its own “reviews”

of Purple’s products as truthful and legitimate, supported by evidence, sanctioned, and

made for purposes of protecting the public, rather than to generate advertising and

other income.

       235.   GhostBed, Nature’s Sleep, Marc Werner, Ashley Werner, and Social

Media Sharks each have supported, encouraged, and participated in the HMR Website

and Social Media to such an extent that they are liable with the Monahan Defendants

for the conduct alleged herein.

       236.   Purple has been injured and will continue to suffer injury as a result of

Defendants’ conduct, including in the form of lost sales, profits diverted to competitors,

including GhostBed, and irreparable harm to its goodwill and reputation.

       237.   As a result, Purple is entitled to damages, costs, attorney’s fees, and pre-

and post-judgment interest as allowed by law.

       238.   Because Defendants’ conduct was willful and/or reckless, Purple is

entitled to punitive damages in an amount to be determined at trial.

                               THIRD CAUSE OF ACTION
                                   (DEFAMATION)

       239.   Plaintiff incorporates the preceding paragraphs by reference.

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       240.     Defendants have made and continue to make numerous express and

implied false, misleading, and material statements about Purple.

       241.     Defendants’ express and implied statements about Purple are not subject

to privilege.

       242.     Defendants published the statements knowing that the statements were

false, with reckless disregard of whether the statements were true or false, or with

malice.

       243.     As a result of Defendants’ conduct, Purple has been damaged and

harmed in an amount to be determined at trial, which damages include, without

limitation, damages harm caused to Plaintiff’s property, business, trade, profession,

reputation, and good will.

       244.     Purple has also suffered and will continue to suffer irreparable harm,

including to its business, good will, reputation, and market position, due to Defendants

conduct.

       245.     Defendants’ false statements constitute defamation per se, in that that the

statements implicate conduct that is incompatible with the exercise of a lawful business,

trade, or profession, such that Purple is entitled to recover general damages without

proof of special damages.

       246.     GhostBed, Nature’s Sleep, Marc Werner, Ashley Werner, and Social

Media Sharks each have supported, encouraged, and participated in the HMR Website

and Social Media to such an extent that they are liable with the Monahan Defendants

for the conduct alleged herein.


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       247.   Purple is entitled to damages, costs, attorney’s fees, and pre- and post-

judgment interest as allowed by law.

       248.   Because Defendants’ conduct was willful and/or reckless, Purple is

entitled to punitive damages in an amount to be determined at trial.

                             FOURTH CAUSE OF ACTION
                      (TRADE LIBEL AND INJURIOUS FALSEHOOD)

       249.   Plaintiff incorporates the preceding paragraphs by reference.

       250.   Defendants have made and continue to make numerous express and

implied material statements about Plaintiff’s goods and services.

       251.   Defendants’ express and implied statements about Purple’s goods and

services are false.

       252.   Defendants’ express and implied statements about Plaintiff’s goods and

services are not subject to privilege.

       253.   Defendants’ express and implied statements about Purple’s goods and

services were intended to cause financial harm to Purple.

       254.   GhostBed, Nature’s Sleep, Marc Werner, Ashley Werner, and Social

Media Sharks each have supported, encouraged, and participated in the HMR Website

and Social Media to such an extent that they are liable with the Monahan Defendants

for the conduct alleged herein.

       255.   As a result of Defendants’ conduct, Plaintiff has been damaged and

harmed in an amount to be determined at trial, which damages include, without

limitation, damages for harm caused to Purple’s property, business, trade, profession,

reputation, good will, and reputational damage in the BIB industry.

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       256.   Purple has also suffered and will continue to suffer irreparable harm,

including to its business, good will, reputation, and market position, due to Defendants

conduct.

       257.   Defendants’ false statements constitute trade libel per se, in that that the

statements implicate conduct that is incompatible with the exercise of a lawful business,

trade, or profession, such that Purple is entitled to recover general damages without

proof of special damages.

       258.   Purple is entitled to damages, costs, attorney’s fees, and pre- and post-

judgment interest as allowed by law.

       259.   Because Defendants’ conduct was willful and/or reckless, Purple is

entitled to punitive damages in an amount to be determined at trial.

                               FIFTH CAUSE OF ACTION
                                 (CIVIL CONSPIRACY)

       260.   Plaintiff incorporates the preceding paragraphs by reference.

       261.   Beginning in late 2016 or early 2017, a combination of two or more

persons was formed, including but not limited to Monahan, HMR, and GhostBed.

       262.   This combination of Defendants had an object to be accomplished,

including a public smear campaign against one of GhostBed’s biggest competitors,

Purple.

       263.   There was a meeting of the minds as to this object in late 2016 or early

2017, as evidenced by the intimate connections between Defendants.

       264.   Defendants engaged in one or more unlawful, overt acts in furtherance of

this object, as set forth in the preceding causes of action, including but not limited to

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defamation, violations of the Lanham Act, tortious interference with economic relations,

and trade libel.

       265.    As a direct and proximate result of Defendants’ conduct, Plaintiff has been

damaged in an amount to be determined at trial.

       266.    Defendants’ conduct was willful and malicious, or conduct that manifests a

knowing and reckless indifference toward, and disregard of the rights of Plaintiff,

entitling Plaintiff to an award of punitive damages against them under Utah Code Ann.

§ 78B-8-201.

                             SIXTH CAUSE OF ACTION
                         (UTAH TRUTH IN ADVERTISING ACT)

       267.    Plaintiff incorporates the preceding paragraphs by reference.

       268.    On or about February 27, 2017, pursuant to Utah Code Ann. § 13-11a-

4(5), Purple sent to Defendants notice (the “Notice”) of their alleged violations of the

Utah Truth in Advertising Act.

       269.    The Notice was served on GhostBed on March 1, 2017, and on HMR and

Monahan on March 3, 2017.

       270.    More than ten days have passed since Defendants received the notice,

but Defendants have taken no action to correct their conduct.

       271.    Defendants have engaged in deceptive trade practices under the Utah

Truth in Advertising Act, including by disparaging Purple and its goods, services, and

business through false and misleading representations of fact.

       272.    GhostBed, Nature’s Sleep, Marc Werner, Ashley Werner, and Social

Media Sharks each have supported, encouraged, and participated in the HMR Website

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and Social Media to such an extent that they are liable with the Monahan Defendants

for the conduct alleged herein.

Purple is therefore entitled to injunctive relief, damages, costs, and attorney’s fees.

                       SEVENTH CAUSE OF ACTION
              (TEMPORARY RESTRAINING ORDER AND INJUNCTION)

       273.   Plaintiff incorporates the preceding paragraphs by reference.

       274.   Defendants have violated Purple’s rights and have otherwise acted in an

unlawful manner, as set forth in the preceding causes of action. Purple has a

substantial likelihood of prevailing on the merits of these claims.

       275.   Unless an injunction issues to require Defendants to remove their

“Articles” and “PSA,” and to restrain Defendants and their officers, agents, servants,

employees, and attorneys, and any other persons who are in active concert or

participation with them, from publishing any similar information, Purple will suffer

irreparable harm, including but not limited to injury to its goodwill, ability to do business,

market position, and/or loss of business in an amount difficult or impossible to quantify.

       276.   Unless an injunction issues to require Defendants to and their officers,

agents, servants, employees, and attorneys, and any other persons who are in active

concert or participation with them, to disclose on the HMR Website, the HMR Social

Media, and elsewhere online, the relationship between Monahan and GhostBed in a

clear and conspicuous manner, Purple will suffer irreparable harm, including but not

limited to injury to its goodwill, ability to do business, market position, and/or loss of

business in an amount difficult or impossible to quantify.



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       277.   An injunction prohibiting the publication of false and misleading

statements and descriptions would not be adverse to the public interest.

       278.   The threatened injury to Purple far outweighs whatever damage an

injunction would or could cause to Defendants, who would not be prohibited from

engaging in other lawful activities.

       279.   There is a substantial likelihood that Purple will prevail on the merits of the

claims for which injunctive relief is sought, or there are serious issues on the merits

which should be the subject of further litigation.

       280.   Therefore, under Rule 65 of the Federal Rules of Civil Procedure and 15

U.S.C. § 1116(a), Plaintiff is entitled to a temporary restraining order and preliminary

injunction that includes, at a minimum, the following relief:

              (a)    That Defendants and their officers, agents, servants, employees,

       and attorneys, and any other persons who are in active concert or participation

       with them, be ordered immediately to discontinue making any and all false and

       misleading statements with regard to Purple, in any medium or format, including

       but not limited to removing the “Articles” and “PSA” specifically referenced in this

       Complaint;

              (b)    That Defendants be required to issue corrective advertising or

       statements on the HMR Website and elsewhere to remedy the confusion and

       deception caused by the false and misleading statements with regard to Purple;

              (c)    That Defendants be required to issue corrective advertising or

       statements to correct any and all false and misleading statements regarding, and


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      to fully disclose Monahan’s current and former association with GhostBed, and/or

      HMR’s association, affiliation, or receipt of compensation in any form from

      competitors of Purple;

             (d)    That Defendants be required to file with the Court and serve upon

      Purple a report under oath setting forth in detail the manner and form in which

      Defendants have complied with the injunction;

             (e)    That Defendants and their officers, agents, servants, employees,

      and attorneys, and any other persons who are in active concert or participation

      with them, be restricted from making false or misleading or confusing posts or

      discussions on social media or otherwise about the existence of this lawsuit, the

      Court’s temporary restraining order or other any other orders that may be issued

      by the Court, or Purple’s efforts herein to restrain Defendants from continuing to

      engage in the conduct at issue, in an attempt to circumvent the purpose of the

      injunctive relief sought by Purple; and

             (f)    Any additional relief warranted at law or necessary to protect

      Plaintiff’s rights, to be determined by the facts and circumstances at the time of

      entry of the order.

                                PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests the Court enter judgment against

Defendants as follows:

      1.     For a temporary restraining order and preliminary and permanent

injunction enjoining Defendants, their officers, agents, servants, employees and


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attorneys, successors and assigns, and all other persons acting in concert or

participation with Defendants, as set forth above;

          2.    An award of damages sufficient to compensate Plaintiff for Defendants’

wrongful conduct and infringement, including for Plaintiff’s lost profits, lost sales,

Defendants’ sales, and/or for lost license fees and royalties;

          3.    An award of punitive damages as permitted by law;

          4.    An award of pre-judgment and post-judgment interest and costs;

          5.    An award of reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117, 35

U.S.C. § 285, and Utah law; and

          6.    For such other further relief to which Plaintiff may be entitled in law and in

equity.

                                 DEMAND FOR JURY TRIAL

          Purple demands a trial by jury on all matters herein so triable in accordance with

Federal Rule of Civil Procedure 38(b).

          DATED this 18th day of December, 2017.

                                            MAGLEBY CATAXINOS & GREENWOOD




                                            James E. Magleby
                                            Christine T. Greenwood
                                            Adam Alba
                                            Attorneys for Plaintiff Purple Innovation, LLC




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                                    CERTIFICATE OF SERVICE

       I hereby certify that I am employed by the law firm of MAGLEBY CATAXINOS &

GREENWOOD, 170 South Main Street, Suite 1100, Salt Lake City, Utah 84101, and that

pursuant to Rule 5 of the Federal Rules of Civil Procedure, I served a true and correct copy

of the foregoing SECOND AMENDED COMPLAINT upon the following via ECF this 18th

day of December, 2017:

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